Filed 12/18/17                                                             Case 17-28183                                                                    Doc 1

  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                        Chapter you are filing under:

                                                                                   Chapter 7
                                                                                   Chapter 11
                                                                                   Chapter 12
                                                                                   Chapter 13                                        Check if this an
                                                                                                                                     amended filing




 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                12/15
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
 case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
 would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
 between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
 all of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
 more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
 every question.


  Part 1:   Identify Yourself

                                     About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

  1.   Your full name

       Write the name that is on     Jesse                                                            Amber
       your government-issued        First name                                                       First name
       picture identification (for
       example, your driver's        Samuel                                                           Ann
       license or passport).         Middle name                                                      Middle name
       Bring your picture
       identification to your
                                     Jensen                                                           Jensen
       meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




  2.   All other names you have
       used in the last 8 years Jesse Samuel Brookstein
       Include your married or
       maiden names.



  3.   Only the last 4 digits of
       your Social Security
       number or federal             xxx-xx-5891                                                      xxx-xx-7451
       Individual Taxpayer
       Identification number
       (ITIN)




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  Debtor 1   Jesse Samuel Jensen
  Debtor 2   Amber Ann Jensen                                                                           Case number (if known)




                                   About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

  4.   Any business names and
       Employer Identification
       Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
       used in the last 8 years
                                   FDBA Urban Rebel Yoga                                         DBA Jordan's Closet
       Include trade names and     Business name(s)                                              Business name(s)
       doing business as names

                                   EINs                                                          EINs




  5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                   5012 Cedar Ravine Road
                                   Placerville, CA 95667
                                   Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                   El Dorado
                                   County                                                        County

                                   If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                   above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                   notices to you at this mailing address.                       mailing address.



                                   Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




  6.   Why you are choosing        Check one:                                                    Check one:
       this district to file for
       bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                          I have lived in this district longer than in any               have lived in this district longer than in any other
                                          other district.                                                district.

                                          I have another reason.                                         I have another reason.
                                          Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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  Part 2:    Tell the Court About Your Bankruptcy Case

  7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
       Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       choosing to file under
                                   Chapter 7
                                       Chapter 11
                                       Chapter 12
                                       Chapter 13



  8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                           about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                           order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                           a pre-printed address.
                                           I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                           The Filing Fee in Installments (Official Form 103A).
                                           I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                           but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                           applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                           the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



  9.   Have you filed for             No.
       bankruptcy within the
       last 8 years?                  Yes.
                                                District                                  When                            Case number
                                                District                                  When                            Case number
                                                District                                  When                            Case number



  10. Are any bankruptcy              No
      cases pending or being
      filed by a spouse who is        Yes.
      not filing this case with
      you, or by a business
      partner, or by an
      affiliate?
                                                Debtor                                                                   Relationship to you
                                                District                                  When                           Case number, if known
                                                Debtor                                                                   Relationship to you
                                                District                                  When                           Case number, if known



  11. Do you rent your                No.        Go to line 12.
      residence?
                                      Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                           No. Go to line 12.
                                                           Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                           bankruptcy petition.




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  Debtor 2    Amber Ann Jensen                                                                               Case number (if known)



  Part 3:    Report About Any Businesses You Own as a Sole Proprietor

  12. Are you a sole proprietor
      of any full- or part-time         No.      Go to Part 4.
      business?

                                        Yes.     Name and location of business

       A sole proprietorship is a
       business you operate as                   See Attachment
       an individual, and is not a               Name of business, if any
       separate legal entity such
       as a corporation,
       partnership, or LLC.
       If you have more than one
       sole proprietorship, use a
       separate sheet and attach                 Number, Street, City, State & ZIP Code
       it to this petition.                      Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

  13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
      Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
      you a small business           in 11 U.S.C. 1116(1)(B).
      debtor?
                                        No.      I am not filing under Chapter 11.
       For a definition of small
       business debtor, see 11
                                        No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
       U.S.C. § 101(51D).
                                                 Code.

                                        Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


  Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

  14. Do you own or have any            No.
      property that poses or is
      alleged to pose a threat          Yes.
      of imminent and                          What is the hazard?
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                      If immediate attention is
      immediate attention?                     needed, why is it needed?

       For example, do you own
       perishable goods, or
       livestock that must be fed,             Where is the property?
       or a building that needs
       urgent repairs?
                                                                             Number, Street, City, State & Zip Code




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  Debtor 2    Amber Ann Jensen                                                                           Case number (if known)

  Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                       About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
  15. Tell the court whether           You must check one:                                           You must check one:
      you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
      briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
      counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                           certificate of completion.                                    completion.
       The law requires that you
       receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
       credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
       you file for bankruptcy.
       You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
       one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
       choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
       so, you are not eligible to         a certificate of completion.                                  of completion.
       file.
                                           Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
       If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
       can dismiss your case, you          payment plan, if any.                                         any.
       will lose whatever filing fee
       you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
       creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
       collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                           days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                           circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                           of the requirement.
                                                                                                         To ask for a 30-day temporary waiver of the requirement,
                                           To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                           requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                           what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                           you were unable to obtain it before you filed for             circumstances required you to file this case.
                                           bankruptcy, and what exigent circumstances
                                           required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                         with your reasons for not receiving a briefing before you
                                           Your case may be dismissed if the court is                    filed for bankruptcy.
                                           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                           If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                           still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                           You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                           agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                           developed, if any. If you do not do so, your case
                                                                                                         Any extension of the 30-day deadline is granted only for
                                           may be dismissed.
                                                                                                         cause and is limited to a maximum of 15 days.
                                           Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15
                                           days.
                                           I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                           credit counseling because of:                                 counseling because of:

                                                 Incapacity.                                                  Incapacity.
                                                 I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                                 that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                                 making rational decisions about finances.                    decisions about finances.

                                                 Disability.                                                  Disability.
                                                 My physical disability causes me to be                       My physical disability causes me to be unable to
                                                 unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                                 by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                                 reasonably tried to do so.                                   do so.

                                                 Active duty.                                                 Active duty.
                                                 I am currently on active military duty in a                  I am currently on active military duty in a military
                                                 military combat zone.                                        combat zone.
                                           If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                           briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                           motion for waiver credit counseling with the court.           of credit counseling with the court.




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  Debtor 1    Jesse Samuel Jensen
  Debtor 2    Amber Ann Jensen                                                                              Case number (if known)

  Part 6:    Answer These Questions for Reporting Purposes

  16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
      you have?                              individual primarily for a personal, family, or household purpose.”

                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                                 No. Go to line 16c.

                                                 Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



  17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
      Chapter 7?

       Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
       after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
       property is excluded and
       administrative expenses                   No
       are paid that funds will
       be available for                          Yes
       distribution to unsecured
       creditors?

  18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
      you estimate that you                                                            5001-10,000                                   50,001-100,000
      owe?                            50-99
                                      100-199                                          10,001-25,000                                 More than100,000
                                      200-999

  19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
      estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
      be worth?
                                      $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


  20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
      estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
      to be?
                                      $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


  Part 7:    Sign Below

  For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                   United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                   document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                   bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                   and 3571.
                                   /s/ Jesse Samuel Jensen                                           /s/ Amber Ann Jensen
                                   Jesse Samuel Jensen                                               Amber Ann Jensen
                                   Signature of Debtor 1                                             Signature of Debtor 2

                                   Executed on     December 18, 2017                                 Executed on     December 18, 2017
                                                   MM / DD / YYYY                                                    MM / DD / YYYY




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  Debtor 2   Amber Ann Jensen                                                                               Case number (if known)




  For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
  represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                  for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
  If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
  an attorney, you do not need    schedules filed with the petition is incorrect.
  to file this page.
                                  /s/ Richard A. Hall                                                Date         December 18, 2017
                                  Signature of Attorney for Debtor                                                MM / DD / YYYY

                                  Richard A. Hall
                                  Printed name

                                  BottomLine Lawyers
                                  Firm name

                                  Box 237
                                  Auburn, CA 95604-0237
                                  Number, Street, City, State & ZIP Code

                                  Contact phone     (530) 888-7100                             Email address         caeb@bottomlinelawyers.com
                                  135483
                                  Bar number & State




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  Debtor 1         Jesse Samuel Jensen
  Debtor 2         Amber Ann Jensen                                                                   Case number (if known)


  Fill in this information to identify your case:

  Debtor 1               Jesse Samuel Jensen
                         First Name                 Middle Name                Last Name

  Debtor 2               Amber Ann Jensen
  (Spouse if, filing)    First Name                 Middle Name                Last Name


  United States Bankruptcy Court for the:    EASTERN DISTRICT OF CALIFORNIA

  Case number
  (if known)                                                                                                                   Check if this is an
                                                                                                                               amended filing


                                                    FORM 101. VOLUNTARY PETITION ATTACHMENT

                                                                  Additional Sole Proprietorship(s)



  Urban Rebel Yoga
  Name of business, if any

  8679 Auburn Folsom Road
  Granite Bay, CA 95746
  Number, Street, City, State & ZIP Code

  Check the appropriate box to describe your business:
           Health Care Business (as defined in 11 U.S.C. § 101(27A))
           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
           Stockbroker (as defined in 11 U.S.C. § 101(53A))
           Commodity Broker (as defined in 11 U.S.C. § 101(6))

           None of the above


  Jordan's Closet
  Name of business, if any


  Number, Street, City, State & ZIP Code

  Check the appropriate box to describe your business:
           Health Care Business (as defined in 11 U.S.C. § 101(27A))
           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
           Stockbroker (as defined in 11 U.S.C. § 101(53A))
           Commodity Broker (as defined in 11 U.S.C. § 101(6))

           None of the above




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  Debtor 2   Amber Ann Jensen                                                                    Case number (if known)

  Amber Jensen Family Farm
  Name of business, if any

  5012 Cedar Ravine Road
  Placerville, CA 95667
  Number, Street, City, State & ZIP Code

  Check the appropriate box to describe your business:
       Health Care Business (as defined in 11 U.S.C. § 101(27A))
       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
       Stockbroker (as defined in 11 U.S.C. § 101(53A))
       Commodity Broker (as defined in 11 U.S.C. § 101(6))

       None of the above




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Filed 12/18/17                                    Case 17-28183                                              Doc 1




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           9IQVIQ UIGIMYIH JURP 5IFW 6HXGEWMRQ EQH 4IUWMJMGEWMRQ 7RXQHEWMRQ% EQ EKIQG[
           ESSURYIH SXUVXEQW WR ** A'?'4' \ *** WR SURYMHI GUIHMW GRXQVIOMQK MQ WLI 6EVWIUQ
           5MVWUMGW RJ 4EOMJRUQME% EQ MQHMYMHXEO CRU KURXSD FUMIJMQK WLEW GRPSOMIH ZMWL WLI
           SURYMVMRQV RJ ** A'?'4' \\ *)0"L# EQH ***'
           2 HIFW UISE[PIQW SOEQ ZEV QRW SUISEUIH' 8J E HIFW UISE[PIQW SOEQ ZEV SUISEUIH% E
           GRS[ RJ WLI HIFW UISE[PIQW SOEQ MV EWWEGLIH WR WLMV GIUWMJMGEWI'
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                                                          @MWOI1   4RXQVIORU




           $ 8QHMYMHXEOV ZLR ZMVL WR JMOI E FEQNUXSWG[ GEVI XQHIU WMWOI ** RJ WLI AQMWIH ?WEWIV 3EQNUXSWG[
           4RHI EUI UITXMUIH WR JMOI ZMWL WLI AQMWIH ?WEWIV 3EQNUXSWG[ 4RXUW E GRPSOIWIH GIUWMJMGEWI RJ
           GRXQVIOMQK JURP WLI QRQSURJMW FXHKIW EQH GUIHMW GRXQVIOMQK EKIQG[ WLEW SURYMHIH WLI MQHMYMHXEO
           WLI GRXQVIOMQK VIUYMGIV EQH E GRS[ RJ WLI HIFW UISE[PIQW SOEQ% MJ EQ[% HIYIORSIH WLURXKL WLI
           GUIHMW GRXQVIOMQK EKIQG[' !"" ** A'?'4' \\ *)0"L# EQH -+*"F#'
Filed 12/18/17                                                                     Case 17-28183                                                                                            Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Jesse Samuel Jensen
                                First Name                      Middle Name                       Last Name

     Debtor 2                   Amber Ann Jensen
     (Spouse if, filing)        First Name                      Middle Name                       Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                               Check if this is an
                                                                                                                                                              amended filing

    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
    Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
    left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
    name and case number (if known).
     Part 1:        List All of Your PRIORITY Unsecured Claims
     1.    Do any creditors have priority unsecured claims against you?

               No. Go to Part 2.
               Yes.
     Part 2:        List All of Your NONPRIORITY Unsecured Claims
     3.    Do any creditors have nonpriority unsecured claims against you?

               No. You have nothing to report in this part. Submit this form to the court with your other schedules.

               Yes.

     4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
           unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
           than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
           Part 2.
                                                                                                                                                                  Total claim

     4.1          AES/NCT                                                 Last 4 digits of account number         0001                                                        $3,700.00
                  Nonpriority Creditor's Name
                  Attn: Bankruptcy                                        When was the debt incurred?             03/2004
                  PO Box 2461
                  Harrisburg, PA 17105
                  Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
                  Who incurred the debt? Check one.
                      Debtor 1 only                                           Contingent
                      Debtor 2 only                                           Unliquidated
                      Debtor 1 and Debtor 2 only                              Disputed
                      At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                      Check if this claim is for a community                  Student loans
                  debt                                                       Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                         report as priority claims

                      No                                                      Debts to pension or profit-sharing plans, and other similar debts

                      Yes                                                     Other. Specify
                                                                                               Student Loan




    Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 6
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Filed 12/18/17                                                                    Case 17-28183                                                                               Doc 1
     Debtor 1 Jesse Samuel Jensen
     Debtor 2 Amber Ann Jensen                                                                                Case number (if know)

     4.2      Citibank SD, NA                                            Last 4 digits of account number       3161                                             $1,272.00
              Nonpriority Creditor's Name
              Attn: Centralized Bankruptcy Dept                          When was the debt incurred?           11/2015
              7920 NW 110th Street
              Kansas City, MO 64195
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card


     4.3      Comcast                                                    Last 4 digits of account number       Unknown                                            $269.00
              Nonpriority Creditor's Name
              One Comcast Center                                         When was the debt incurred?           Unknown
              Philadelphia, PA 19103
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Cable Bill


     4.4      ECP/TPB1, LLC                                              Last 4 digits of account number       0053                                          $437,626.00
              Nonpriority Creditor's Name
              Attn: Ethan Conrad                                         When was the debt incurred?           09/2016
              1300 National Drive, Suite 100
              Sacramento, CA 95834
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only
                                                                            Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Lawsuit




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 6
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Filed 12/18/17                                                                    Case 17-28183                                                                               Doc 1
     Debtor 1 Jesse Samuel Jensen
     Debtor 2 Amber Ann Jensen                                                                                Case number (if know)

     4.5      Shawn Dhillon, Esq                                         Last 4 digits of account number       0053                                             Unknown
              Nonpriority Creditor's Name
              1300 National Drive, Suite 100                             When was the debt incurred?           09/2017
              Sacramento, CA 95834
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice Only
                  Yes                                                       Other. Specify   ECP/TPB1, LLC lawsuit


     4.6      Southwest Credit Systems                                   Last 4 digits of account number       3161                                             Unknown
              Nonpriority Creditor's Name
              4120 International Parkway, Suite                          When was the debt incurred?           11/2016
              1100
              Carrollton, TX 75007
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                             Notice Only
                  Yes                                                       Other. Specify   Collection for Comcast


     4.7      US Department of Education                                 Last 4 digits of account number       Multiple                                         Unknown
              Nonpriority Creditor's Name
              Bankruptcy Section                                         When was the debt incurred?           Multiple
              50 United Nations Plaza
              Mail Box 1200
              San Francisco, CA 94102
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify
                                                                                             Notice Only
                                                                                             Student Loans


    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 6
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Filed 12/18/17                                                                    Case 17-28183                                                                               Doc 1
     Debtor 1 Jesse Samuel Jensen
     Debtor 2 Amber Ann Jensen                                                                                Case number (if know)

     4.8      Wells Fargo Bank, NA                                       Last 4 digits of account number       4576                                             $4,924.00
              Nonpriority Creditor's Name
              420 Montgomery Street                                      When was the debt incurred?           05/2004
              San Francisco, CA 94163
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card


     4.9      Wells Fargo Bank, NA                                       Last 4 digits of account number       CC01                                             $3,172.00
              Nonpriority Creditor's Name
              420 Montgomery Street                                      When was the debt incurred?           07/2006
              San Francisco, CA 94163
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify
                                                                                             Student Loan
     4.1
     0        Wells Fargo Bank, NA                                       Last 4 digits of account number       CP02                                             $1,571.00
              Nonpriority Creditor's Name
              420 Montgomery Street                                      When was the debt incurred?           02/2005
              San Francisco, CA 94163
              Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify
                                                                                             Student Loan




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 6
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Filed 12/18/17                                                                    Case 17-28183                                                                                       Doc 1
     Debtor 1 Jesse Samuel Jensen
     Debtor 2 Amber Ann Jensen                                                                                Case number (if know)

     4.1
     1         Wells Fargo Bank, NA                                      Last 4 digits of account number       CC02                                                     $1,457.00
               Nonpriority Creditor's Name
               420 Montgomery Street                                     When was the debt incurred?           02/2005
               San Francisco, CA 94163
               Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                  Debtor 1 only                                             Contingent
                  Debtor 2 only                                             Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                   Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify
                                                                                             Student Loan
     4.1
     2         Wells Fargo Bank, NA                                      Last 4 digits of account number       8229                                                     $6,914.00
               Nonpriority Creditor's Name
               420 Montgomery Street                                     When was the debt incurred?           Unknown
               San Francisco, CA 94163
               Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                   Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Business Credit Card

     Part 3:      List Others to Be Notified About a Debt That You Already Listed
    5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
       is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.
     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     AES/NCT                                                       Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
     PO Box 61047                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
     Harrisburg, PA 17106
                                                                   Last 4 digits of account number                  0001

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Citibank North America                                        Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
     Citicorp Credit Srvs/Bankruptcy                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
     PO Box 790040
     Saint Louis, MO 63179
                                                                   Last 4 digits of account number                  3161

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Wells Fargo                                                   Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
     Education Financial Services                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
     PO Box 5185
     Sioux Falls, SD 57117
                                                                   Last 4 digits of account number                  Multiple


    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 5 of 6
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Filed 12/18/17                                                                    Case 17-28183                                                                                       Doc 1
     Debtor 1 Jesse Samuel Jensen
     Debtor 2 Amber Ann Jensen                                                                                Case number (if know)

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Wells Fargo Bank                                              Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
     PO Box 10438                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
     MACF8235-02F
     Des Moines, IA 50306
                                                                   Last 4 digits of account number                    4576

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Wells Fargo Bank                                              Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     PO Box 10438                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
     MACF8235-02F
     Des Moines, IA 50306
                                                                   Last 4 digits of account number                    6914

     Part 4:      Add the Amounts for Each Type of Unsecured Claim
    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
       type of unsecured claim.

                                                                                                                                    Total Claim
                            6a.   Domestic support obligations                                                  6a.       $                           0.00
            Total
          claims
      from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                            6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                            6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                            6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                    Total Claim
                            6f.   Student loans                                                                 6f.       $                     9,900.00
            Total
          claims
      from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                                  you did not report as priority claims                                         6g.       $                           0.00
                            6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                            6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                                  here.                                                                                   $                  451,005.00

                            6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  460,905.00




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 6 of 6
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Filed 12/18/17                                                                  Case 17-28183                                                                           Doc 1
     Fill in this information to identify your case:

     Debtor 1                  Jesse Samuel Jensen
                               First Name                         Middle Name            Last Name

     Debtor 2                  Amber Ann Jensen
     (Spouse if, filing)       First Name                         Middle Name            Last Name


     United States Bankruptcy Court for the:               EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                  Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

    2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
           example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
           and unexpired leases.


               Person or company with whom you have the contract or lease                   State what the contract or lease is for
                               Name, Number, Street, City, State and ZIP Code

         2.1       ECP/TPB1, LLC                                                              Standard Multi-Tenant Shopping Center Lease (Net) for
                   1300 National Drive, Suite 100                                             Jesse Jensen FDBA Urban Rebel Yoga
                   Sacramento, CA 95834

         2.2       Jeffery Smith                                                              One year lease (05/2017 to 05/2018) for the property
                   911 46th Street                                                            located at 511 Placerville Drive, Placerville, CA 95667
                   Sacramento, CA 95819




    Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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Filed 12/18/17                                                                   Case 17-28183                                                                                   Doc 1


     Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                       122A-1Supp:
     Debtor 1              Jesse Samuel Jensen
     Debtor 2              Amber Ann Jensen                                                                    1. There is no presumption of abuse
     (Spouse, if filing)
                                                                                                               2. The calculation to determine if a presumption of abuse
     United States Bankruptcy Court for the:            Eastern District of California
                                                                                                                   applies will be made under Chapter 7 Means Test
                                                                                                                   Calculation (Official Form 122A-2).
     Case number
     (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                                   qualified military service but it could apply later.
                                                                                                               Check if this is an amended filing
    Official Form 122A - 1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
    attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
    case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
    qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

     Part 1:           Calculate Your Current Monthly Income

      1. What is your marital and filing status? Check one only.
                  Not married. Fill out Column A, lines 2-11.
                  Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
                  Married and your spouse is NOT filing with you. You and your spouse are:
                     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                     penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                     living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
        the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
        spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A                   Column B
                                                                                                           Debtor 1                   Debtor 2 or
                                                                                                                                      non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
         payroll deductions).                                                               $                                         $
      3. Alimony and maintenance payments. Do not include payments from a spouse if
         Column B is filled in.                                                             $                                         $
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.                           $                                         $
      5. Net income from operating a business, profession, or farm
                                                                           Debtor 1
            Gross receipts (before all deductions)                            $
            Ordinary and necessary operating expenses                        -$
            Net monthly income from a business, profession, or farm $                        Copy here -> $                           $
      6. Net income from rental and other real property
                                                                                         Debtor 1
            Gross receipts (before all deductions)                            $
            Ordinary and necessary operating expenses                        -$
            Net monthly income from rental or other real property            $               Copy here -> $                           $
                                                                                                           $                          $
      7. Interest, dividends, and royalties




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
    Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
Filed 12/18/17                                                               Case 17-28183                                                                                   Doc 1

     Debtor 1     Jesse Samuel Jensen
     Debtor 2     Amber Ann Jensen                                                                          Case number (if known)



                                                                                                        Column A                     Column B
                                                                                                        Debtor 1                     Debtor 2 or
                                                                                                                                     non-filing spouse
      8. Unemployment compensation                                                           $                                       $
         Do not enter the amount if you contend that the amount received was a benefit under
         the Social Security Act. Instead, list it here:
            For you                                          $
                For your spouse                                          $
      9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act.                                                        $                            $
      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments
          received as a victim of a war crime, a crime against humanity, or international or
          domestic terrorism. If necessary, list other sources on a separate page and put the
          total below.
                 .                                                                                      $                            $
                                                                                                        $                            $
                      Total amounts from separate pages, if any.                                    +   $                            $

      11. Calculate your total current monthly income. Add lines 2 through 10 for
          each column. Then add the total for Column A to the total for Column B.               $                        +   $                   =   $

                                                                                                                                                     Total current monthly
                                                                                                                                                     income

     Part 2:        Determine Whether the Means Test Applies to You

      12. Calculate your current monthly income for the year. Follow these steps:
           12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>            $


                  Multiply by 12 (the number of months in a year)                                                                                        x 12
           12b. The result is your annual income for this part of the form                                                                 12b. $


      13. Calculate the median family income that applies to you. Follow these steps:
           Fill in the state in which you live.

           Fill in the number of people in your household.

           Fill in the median family income for your state and size of household.                                                          13.   $
           To find a list of applicable median income amounts, go online using the link specified in the separate instructions
           for this form. This list may also be available at the bankruptcy clerk’s office.
      14. How do the lines compare?
           14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                          Go to Part 3.
           14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                          Go to Part 3 and fill out Form 122A-2.
     Part 3:        Sign Below
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                 X /s/ Jesse Samuel Jensen                                                X /s/ Amber Ann Jensen
                    Jesse Samuel Jensen                                                       Amber Ann Jensen
                    Signature of Debtor 1                                                     Signature of Debtor 2
            Date December 18, 2017                                                     Date December 18, 2017
                 MM / DD / YYYY                                                             MM / DD / YYYY
                  If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 2
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Filed 12/18/17                                                                 Case 17-28183                                                                      Doc 1


     Fill in this information to identify your case:

     Debtor 1            Jesse Samuel Jensen

     Debtor 2           Amber Ann Jensen
     (Spouse, if filing)

     United States Bankruptcy Court for the:            Eastern District of California

     Case number                                                                                       Check if this is an amended filing
     (if known)



    Official Form 122A - 1Supp
    Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                      12/15

    File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
    exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
    exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
    required by 11 U.S.C. § 707(b)(2)(C).

     Part 1:         Identify the Kind of Debts You Have

      1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
         personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
         Individuals Filing for Bankruptcy (Official Form 1).

               No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
                   supplement with the signed Form 122A-1.
               Yes. Go to Part 2.


     Part 2:         Determine Whether Military Service Provisions Apply to You

      2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
               No. Go to line 3.
               Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                    10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                      No.     Go to line 3.
                      Yes.    Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                              submit this supplement with the signed Form 122A-1.

      3. Are you or have you been a Reservist or member of the National Guard?
               No.     Complete Form 122A-1. Do not submit this supplement.
               Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                      No.     Complete Form 122A-1. Do not submit this supplement.
                      Yes.    Check any one of the following categories that applies:
                                                                                                 If you checked one of the categories to the left, go to Form
                              I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                              90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                                 submit this supplement with the signed Form 122A-1. You
                              I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                              90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                              which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                                 homeland defense activity, and for 540 days afterward. 11
                              I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                              I performed a homeland defense activity for at least 90 days,
                                                                                                    If your exclusion period ends before your case is closed,
                              ending on                  , which is fewer than 540 days before I
                              file this bankruptcy case.                                            you may have to file an amended form later.




    Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                  page 1
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Filed 12/18/17                                                                   Case 17-28183                                                                                   Doc 1


     Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                       122A-1Supp:
     Debtor 1              Jesse Samuel Jensen
     Debtor 2              Amber Ann Jensen                                                                    1. There is no presumption of abuse
     (Spouse, if filing)
                                                                                                               2. The calculation to determine if a presumption of abuse
     United States Bankruptcy Court for the:            Eastern District of California
                                                                                                                   applies will be made under Chapter 7 Means Test
                                                                                                                   Calculation (Official Form 122A-2).
     Case number
     (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                                   qualified military service but it could apply later.
                                                                                                               Check if this is an amended filing
    Official Form 122A - 1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
    attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
    case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
    qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

     Part 1:           Calculate Your Current Monthly Income

      1. What is your marital and filing status? Check one only.
                  Not married. Fill out Column A, lines 2-11.
                  Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
                  Married and your spouse is NOT filing with you. You and your spouse are:
                     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                     penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                     living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
        the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
        spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A                   Column B
                                                                                                           Debtor 1                   Debtor 2 or
                                                                                                                                      non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
         payroll deductions).                                                               $                                         $
      3. Alimony and maintenance payments. Do not include payments from a spouse if
         Column B is filled in.                                                             $                                         $
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.                           $                                         $
      5. Net income from operating a business, profession, or farm
                                                                           Debtor 1
            Gross receipts (before all deductions)                            $
            Ordinary and necessary operating expenses                        -$
            Net monthly income from a business, profession, or farm $                        Copy here -> $                           $
      6. Net income from rental and other real property
                                                                                         Debtor 1
            Gross receipts (before all deductions)                            $
            Ordinary and necessary operating expenses                        -$
            Net monthly income from rental or other real property            $               Copy here -> $                           $
                                                                                                           $                          $
      7. Interest, dividends, and royalties




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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     Debtor 1     Jesse Samuel Jensen
     Debtor 2     Amber Ann Jensen                                                                          Case number (if known)



                                                                                                        Column A                     Column B
                                                                                                        Debtor 1                     Debtor 2 or
                                                                                                                                     non-filing spouse
      8. Unemployment compensation                                                           $                                       $
         Do not enter the amount if you contend that the amount received was a benefit under
         the Social Security Act. Instead, list it here:
            For you                                          $
                For your spouse                                          $
      9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act.                                                        $                            $
      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments
          received as a victim of a war crime, a crime against humanity, or international or
          domestic terrorism. If necessary, list other sources on a separate page and put the
          total below.
                 .                                                                                      $                            $
                                                                                                        $                            $
                      Total amounts from separate pages, if any.                                    +   $                            $

      11. Calculate your total current monthly income. Add lines 2 through 10 for
          each column. Then add the total for Column A to the total for Column B.               $                        +   $                   =   $

                                                                                                                                                     Total current monthly
                                                                                                                                                     income

     Part 2:        Determine Whether the Means Test Applies to You

      12. Calculate your current monthly income for the year. Follow these steps:
           12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>            $


                  Multiply by 12 (the number of months in a year)                                                                                        x 12
           12b. The result is your annual income for this part of the form                                                                 12b. $


      13. Calculate the median family income that applies to you. Follow these steps:
           Fill in the state in which you live.

           Fill in the number of people in your household.

           Fill in the median family income for your state and size of household.                                                          13.   $
           To find a list of applicable median income amounts, go online using the link specified in the separate instructions
           for this form. This list may also be available at the bankruptcy clerk’s office.
      14. How do the lines compare?
           14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                          Go to Part 3.
           14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                          Go to Part 3 and fill out Form 122A-2.
     Part 3:        Sign Below
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                 X /s/ Jesse Samuel Jensen                                                X /s/ Amber Ann Jensen
                    Jesse Samuel Jensen                                                       Amber Ann Jensen
                    Signature of Debtor 1                                                     Signature of Debtor 2
            Date December 18, 2017                                                     Date December 18, 2017
                 MM / DD / YYYY                                                             MM / DD / YYYY
                  If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 2
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     Fill in this information to identify your case:

     Debtor 1            Jesse Samuel Jensen

     Debtor 2           Amber Ann Jensen
     (Spouse, if filing)

     United States Bankruptcy Court for the:            Eastern District of California

     Case number                                                                                       Check if this is an amended filing
     (if known)



    Official Form 122A - 1Supp
    Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                      12/15

    File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
    exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
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    required by 11 U.S.C. § 707(b)(2)(C).

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         personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
         Individuals Filing for Bankruptcy (Official Form 1).

               No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
                   supplement with the signed Form 122A-1.
               Yes. Go to Part 2.


     Part 2:         Determine Whether Military Service Provisions Apply to You

      2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
               No. Go to line 3.
               Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                    10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                      No.     Go to line 3.
                      Yes.    Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                              submit this supplement with the signed Form 122A-1.

      3. Are you or have you been a Reservist or member of the National Guard?
               No.     Complete Form 122A-1. Do not submit this supplement.
               Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                      No.     Complete Form 122A-1. Do not submit this supplement.
                      Yes.    Check any one of the following categories that applies:
                                                                                                 If you checked one of the categories to the left, go to Form
                              I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                              90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                                 submit this supplement with the signed Form 122A-1. You
                              I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                              90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                              which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                                 homeland defense activity, and for 540 days afterward. 11
                              I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                              I performed a homeland defense activity for at least 90 days,
                                                                                                    If your exclusion period ends before your case is closed,
                              ending on                  , which is fewer than 540 days before I
                              file this bankruptcy case.                                            you may have to file an amended form later.




    Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                  page 1
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                                AES/NCT
                                Attn: Bankruptcy
                                PO Box 2461
                                Harrisburg, PA 17105


                                AES/NCT
                                PO Box 61047
                                Harrisburg, PA 17106


                                American Honda Finance
                                2420 Camino Ramon
                                San Ramon, CA 94583


                                American Honda Finance
                                PO Box 168088
                                Irving, TX 75016


                                American Honda Finance
                                20800 Madrona Avenue
                                Torrance, CA 90503


                                BB&T
                                Attn: Bankruptcy Department
                                6010 Golding Center Drive
                                Winston Salem, NC 27103


                                Brian Bonsall



                                Citibank North America
                                Citicorp Credit Srvs/Bankruptcy
                                PO Box 790040
                                Saint Louis, MO 63179


                                Citibank SD, NA
                                Attn: Centralized Bankruptcy Dept
                                7920 NW 110th Street
                                Kansas City, MO 64195


                                Comcast
                                One Comcast Center
                                Philadelphia, PA 19103
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                 Jensen, Jesse and Amber - - Pg. 2 of 3



                                ECP/TPB1, LLC
                                Attn: Ethan Conrad
                                1300 National Drive, Suite 100
                                Sacramento, CA 95834


                                ECP/TPB1, LLC
                                1300 National Drive, Suite 100
                                Sacramento, CA 95834


                                Jeffery Smith
                                911 46th Street
                                Sacramento, CA 95819


                                Mr. Cooper
                                PO Box 619098
                                Dallas, TX 75261


                                Mr. Cooper
                                PO Box 619094
                                Dallas, TX 75261


                                Nationstar Mortgage dba Mr. Cooper
                                350 Highland
                                Houston, TX 77067


                                Robert Jensen
                                265 Calle De Madrid
                                Redondo Beach, CA 90277


                                Shawn Dhillon, Esq
                                1300 National Drive, Suite 100
                                Sacramento, CA 95834


                                Sheffield Financial Company
                                6010 Golding Center Drive
                                Winston Salem, NC 27103


                                Sheffield Financial Company
                                2554 Lewisville Clemmons
                                Clemmons, NC 27012


                                Southwest Credit Systems
                                4120 International Parkway, Suite 1100
                                Carrollton, TX 75007
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                 Jensen, Jesse and Amber - - Pg. 3 of 3



                                Travis Credit Union
                                1 Travis Way
                                Vacaville, CA 95687


                                US Department of Education
                                Bankruptcy Section
                                50 United Nations Plaza
                                Mail Box 1200
                                San Francisco, CA 94102


                                Wells Fargo
                                Education Financial Services
                                PO Box 5185
                                Sioux Falls, SD 57117


                                Wells Fargo Bank
                                PO Box 10438
                                MACF8235-02F
                                Des Moines, IA 50306


                                Wells Fargo Bank, NA
                                420 Montgomery Street
                                San Francisco, CA 94163


                                XXNationstar Mortgage DBA Mr. Cooper
                                Attn: Bankruptcy
                                8950 Cypress Waters Boulevard
                                Dallas, TX 75019
